Case 2:12-md-02327 Document 1182-1 Filed 05/19/14 Page 1 of 1 PageID #: 15201



                             UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF WEST VIRGINIA
                                    AT CHARLESTON

IN RE: ETHICON, INC., PELVIC
REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION                                           MDL NO.: 2327

THIS DOCUMENT RELATES ONLY TO:
YVONNE SEMERE
V. ETHICON, INC., ET AL                                        SDWV NO. 2:12-MD-02327


                                               ORDER
       BASED UPON THE FOREGOING MOTION TO TERMINATE AND SUBSTITUTE COUNSEL:

       IT IS ORDERED, ADJUDGED AND DECREED that KEVIN R. DUCK, DUCK LAW FIRM,

L.L.C., 5040 Ambassador Caffery Parkway, Suite 200, Lafayette, LA 70508; Phone: 337-406-1144; Fax: 337-

406-1050; Email: krd@ducklawfirm.com be, and is hereby substituted for BARRY L. DOMINGUE, as lead

counsel for plaintiff, YVONNE SEMERE, in the above-referenced proceeding.

       IT IS FURTHER ORDERED that the attached Notice of Appearance of KEVIN R. DUCK, DUCK

LAW FIRM, LLC be and is hereby accepted for filing in the stead of the Notice of Appearance previously
filed by BARRY L. DOMINGUE, and that the Clerk update the attorney of record information to reflect the
following contact information for KEVIN R. DUCK, as lead counsel for plaintiff, YVONNE SEMERE, in

the above-referenced proceeding.

       THUS ORDERED on this ____ day of _____________________, 2014 at _________________.
                                                       ________________________________
                                                       JUDGE
